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   1                    IN THE UNITED STATES DISTRICT COURT
   2                             FOR THE DISTRICT OF MARYLAND
   3

   4       JEFF HULBERT, et al.,                                     :
   5                         Plaintiffs                              :
   6              vs.                                                :
   7       SGT. BRIAN T. POPE, et al., :                                   CASE NUMBER:
   8                         Defendants                              :     1:18-CV-02317 GLR
   9

 10                                        --------------------
 11

 12                        Deposition of TROOPER JOSEPH WALDER, JR.,
 13        taken on Monday, January 13, 2020, at 2:05 p.m.,
 14        at Hansel Law, 2514 North Charles Street,
 15        Baltimore, Maryland, before Linda A. Crockett,
 16        Notary Public.
 17                                        --------------------
 18

 19

 20        Reported by:
 21        Linda A. Crockett                                                            Exhibit B
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   1                    A.     Yes.
   2                    Q.     Have you worked for any other governor
   3       other than Governor Hogan in executive
   4       protection?
   5                    A.     O'Malley.
   6                    Q.     When did you get assigned to the
   7       lieutenant governor?
   8                    A.     When they were elected.
   9                    Q.     So somewhere around 2015; is that right?
 10                     A.     Yes.
 11                     Q.     And have you -- and recognizing you may
 12        pick up an overtime shift or sub in for somebody,
 13        but have you generally been assigned to executive
 14        protection for the lieutenant governor since
 15        2015?
 16                     A.     Yes.
 17                     Q.     And my understanding is that there's an
 18        advance person and then a person who is
 19        personally with the lieutenant governor that sort
 20        of make up his immediate team; is that right?
 21                     A.     Yes.
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   1                    Q.     And the advance person I understand to
   2       be the advance man or advance person, however you
   3       say it, is that right, in terms of just what
   4       they're referred to as?
   5                    A.     Yes.
   6                    Q.     And then the person who's actually with
   7       the lieutenant governor, how do you call that
   8       person or how do you refer to them?                                     I just want
   9       to make sure we're on the same page.
 10                     A.     Just protection.
 11                     Q.     So there's the protection officer and
 12        the advance officer; is that right?
 13                     A.     Yes.
 14                     Q.     And that's the lieutenant governor's
 15        immediate team; is that fair?
 16                     A.     Yes.
 17                     Q.     Okay.         All right.              Tell me about the
 18        role -- have you worked both roles for the
 19        lieutenant governor?
 20                     A.     Yes.
 21                     Q.     And do you routinely kind of trade off
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   1                    Q.     I mean, but you work closely together?
   2                    A.     Yes.
   3                    Q.     All right.              Are the two of you also
   4       friends?
   5                    A.     Friends as in -- I mean, we have a work
   6       friendship.
   7                    Q.     Sure.         But do you see each other outside
   8       of work, maybe at a bar, a cookout, that sort of
   9       thing?
 10                     A.     No.
 11                     Q.     Fair enough.                But friendly certainly at
 12        work?
 13                     A.     Sure, yes.
 14                     Q.     Okay.         Now, describe the two roles for
 15        me.          What does the advance person do and what
 16        does the protection person do, just from a
 17        thousand feet in the air general question?
 18                     A.     So basically the advance guy will go
 19        obviously in advance to wherever -- whatever that
 20        event is or where we're going.                                    He does basically
 21        an overview of where we're going, checks things
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   1       out.          The protection guy is basically, he'll
   2       assume the duty of protecting the lieutenant
   3       governor, anyone approaching him or whatever,
   4       whoever is a threat.
   5                    Q.     And so the protection person -- and
   6       again, you have the knowledge and experience, not
   7       me.          But I'm going to make some assumptions to
   8       try to move the deposition along and ask you if
   9       they're correct.                      If they aren't, tell me.                      But
 10        the protection person it sounds like maintains a
 11        relatively short distance between him and the
 12        lieutenant governor, stays relatively physically
 13        close in order to perform his role as protection.
 14        Is that right?
 15                     A.     For the most part, yes.
 16                     Q.     And then the advance person is the
 17        person who is more remote and goes and checks out
 18        maybe the path of movement or a location where
 19        they're going to go to; is that generally right?
 20                     A.     Yes.
 21                     Q.     Speaking of the advance person now, does
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   1                    Q.     Okay.         What is it?
   2                    A.     It's our schedule.
   3                    Q.     It's been explained to me that there's a
   4       schedule that's prepared in advance and then it
   5       is corrected or changed if people are out sick or
   6       got in a car wreck or whatever, couldn't make it
   7       to work for whatever reason.                                  Do you know whether
   8       this is the advance one, the final one?                                       Do you
   9       have any idea one way or the other looking at it?
 10                     A.     No.
 11                     Q.     Have you ever seen this document before?
 12                     A.     This particular one, no.
 13                     Q.     But you've seen documents of this type?
 14                     A.     Yes.
 15                     Q.     All right.              Looking at Monday, February
 16        5th, can you tell me who was working protection
 17        for the lieutenant governor?
 18                     A.     That was me, sir.
 19                     Q.     Okay.
 20                     A.     Well, I guess it would be me.                           If you
 21        were to draw a straight line, but --
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   1       final version, is there any indication on here
   2       that would help narrow it down as to who might
   3       have subbed in for Shusko, assuming somebody did?
   4                    A.     According to this document, not by
   5       memory --
   6                    Q.     I hear you.
   7                    A.     -- would be Roby and DeCerbo.
   8                    Q.     All right.              In other words, the way this
   9       is written, it suggests to you it was one of
 10        those people who subbed in for Shusko; is that
 11        what you're telling me?
 12                     A.     Yes.
 13                     Q.     All right.              And I'll tell you that's
 14        what he told me too.                          That's why I brought those
 15        to your attention.
 16                            Looking at this document, is there
 17        anybody else who you think might have subbed in
 18        for him, if somebody did.                               And I don't even know
 19        if they did it, so I'm not suggesting it.
 20                     A.     According to this document, no.
 21                     Q.     Do you remember working this day,
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   1       lieutenant governor was that this particular
   2       group might have an unpleasant message for him or
   3       one he didn't want to hear; is that right.
   4                           He says, possible, yes.
   5                    A.     Okay.
   6                    Q.     Later in the same deposition he's asked,
   7       that's what you were communicating when you said
   8       that the executive protection people didn't want
   9       the picketers to give them a bunch of stuff for
 10        whatever reason.
 11                            Correct.
 12                            In communicating that, the intent was
 13        obviously that they, they refers to the Maryland
 14        capitol police, would send a trooper out and do
 15        whatever could be done to try to avoid the
 16        interaction.
 17                            Correct.
 18                            So would you ever, without at least
 19        consulting with your protectee, direct that
 20        officers be sent out to move people because they
 21        might have a message that the protectee didn't
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   1       want to hear.
   2                    A.     No.
   3                           MR. FREDRICKSON:                    Objection to the form
   4       of the question.                      Objection to the improper
   5       reading of the transcript.                                I don't know why we
   6       have to keep inserting words into the transcript,
   7       especially references to and explanations for
   8       pronouns.                It's a totally improper question.
   9                    Q.     Your answer was no?
 10                     A.     No, I don't --
 11                            MR. FREDRICKSON:                    Do you understand the
 12        question?
 13                            MR. HANSEL:               No, no, no.               That's not how
 14        this works.
 15                            MR. FREDRICKSON:                    It does work.           Because
 16        you don't want to have an improper incorrect
 17        transcript.                     You said it at the beginning.
 18                            MR. HANSEL:               He answered the question.
 19                            MR. FREDRICKSON:                    You asked him a
 20        question that takes you a minute and a half and
 21        you improperly read the deposition.
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   1                    A.     How would I know that?
   2                           MR. FREDRICKSON:                    Exactly.
   3                    Q.     Unless you what, consulted with the
   4       lieutenant governor, right?
   5                           MR. FREDRICKSON:                    Objection to the form
   6       of the question, hypothetical.
   7                           MR. HANSEL:               Counsel, I'm going to ask
   8       you that you stick to one word.                                    I understand
   9       objection to incorporate all kinds of things.
 10                            MR. FREDRICKSON:                    I can explain my
 11        objection to the point I want to.
 12                            MR. HANSEL:               I disagree.
 13                     A.     That's more an opinion than --
 14                     Q.     That's fine.                I still need an answer.
 15        Would you ever, without consulting the lieutenant
 16        governor, call the mansion to tell them that
 17        particular picketers have a message he might
 18        find --
 19                     A.     That's where you lose me right there.
 20                     Q.     Go ahead.
 21                     A.     How do I know it's an unpleasant
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   1       message.              I never made a call.                        I never made that
   2       kind of a call.                     It goes case by case.                   Would I?
   3       I could not tell you.
   4                    Q.     And the only way you would know if he
   5       found it unpleasant or he didn't want to hear it
   6       would be if he told you?
   7                           MR. FREDRICKSON:                    Objection.        Who is he?
   8                           MR. HANSEL:               The lieutenant governor.
   9                           MR. FREDRICKSON:                    There's nothing in
 10        that transcript that says lieutenant governor.
 11                            MR. HANSEL:               We're looking at it and it
 12        does.
 13                     A.     As far as unpleasant message, I mean,
 14        I've never had that.
 15                     Q.     So you wouldn't know whether it was a
 16        message he didn't want to hear unless he told
 17        you; is that right?
 18                            MR. FREDRICKSON:                    Objection to the form
 19        of the question.
 20                     A.     A question that he would not want to
 21        hear.           Yes, I mean, you would have to talk to
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   1       him.
   2                    Q.     Who is him?
   3                    A.     You would have to talk to the person you
   4       want to know the information, the lieutenant
   5       governor.                I don't know how else to answer that.
   6                    Q.     Me neither.
   7                    A.     That's an opinion.
   8                    Q.     Now, have you ever been party to asking
   9       anybody in the mansion to send a trooper out to
 10        try to avoid an interaction between a protectee
 11        and members of the public?
 12                            MR. FREDRICKSON:                    Objection.        Asked and
 13        answered.                Go ahead.
 14                     A.     No, no.
 15                     Q.     To your knowledge, have you ever had any
 16        internal affairs investigations opened against
 17        you?
 18                     A.     No.
 19                     Q.     Is it fair to say that, in terms of the
 20        decision-making between the protection team and
 21        the protectee, what's the line between the two?
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